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    United States v. Hatchet Speed, 22CR244
                         Exhibit A
               Letters from Loved Ones
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Mrs. Amber McCraw
7931 Leeds Manor Road
Marshall, VA 20115

8 March 2023

The Honorable Michael S. Nachmanoff
United States District Judge

Dear Judge Nachmanoff,

       My name is Amber McCraw, and I reside at 7931 Leeds Manor Road, Marshall, VA. I
work here in Virginia, holding a dual role as an Operations Research Analyst at the Air Traffic
Control System Command Center and Principal Engineer/Scientist for Advanced Sciences &
Technologies, Inc. I moved myself and my two children from Missouri to Virginia on February
27, 2017, to take a better employment opportunity. This is the same time that I met Mr. Hatchet
Speed. I am writing this letter to provide additional information of Mr. Speed’s character that the
court may not be aware of, so this information may be considered when determining his
sentence.

        Mr. Speed was a member of my church, and we first met at a singles event sponsored by
the church. We quickly became friends. The first thing I noticed about Mr. Speed was that he
was very respectful and well mannered, and although quiet, was also very friendly and willing to
help. Our first encounter was me explaining the role of the Office of Commercial Space
Transportation at the Federal Aviation Administration (where I worked) to a group of our peers
who only had basic aviation knowledge. It was a detailed explanation and Mr. Speed was drawn
closer in the crowd by his interest of the topic. After I finished talking to the group he came over
and joined me for the group lunch and the church service afterward. I noticed he was very
curious and spoke at a high level of intelligence, and he was also a good singer and knew the
church songs. I asked if he was raised in the church, to which he said yes.

        In time, I found that we had more in common. I would frequently volunteer for church
events to provide service to our community, and I brought my children along so they would also
understand that helping people and being of service was part of being a responsible citizen. Mr.
Speed would also volunteer for these events, and I would see him regularly. We planted
hundreds of trees with the Arlington Regional Master Naturalists at a park in Arlington and
worked as a group to gather supplies and put together many emergency food and supply kits for
families in need. There were additional volunteer opportunities, such as bagging rice for the
Arlington Food Assistance Center (AFAC), which was an ongoing opportunity for everyone to
help as their schedule allowed.

        I would also see him at the various fireside events that our church would hold, where
several speakers would present their understanding and application of scriptural principles for
personal development. Later, he became a member of our all-church motorcycle riding group, as
he also loved to ride motorcycles. The group was small, with the only 5 people we could find in
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the church who liked to ride. We rode out to the country and had lunch and faith-based
conversation on beautiful days, and I came to know Mr. Speed very well.

        Mr. Speed regularly attended church and also paid tithes on his income. At our level, it
was usually somewhere between $10,000 and $12,000 per year that was donated to the church,
and both of us also chose to donate additional money to support the church’s food assistance
program for needy families. When talking to him about biblical principles, it struck me that he
was an avid reader of the Bible and other historical scriptural texts as well, such as the Talmud
and Koran. He has a strong understanding of our church’s history and Bible history, and talking
about biblical principles with him was educational and enlightening. Mr. Speed has been a
lifelong member of our church, which holds a to higher standard of behavior that includes
honesty and integrity, adherence to godly principles and no alcohol or drug use.

       Mr. Speed is also very interested in science and history, and has used his spare time to
read many books on historical figures and events. One thing that impressed me was his vast
bookshelves and the variety of information they held. He is always striving to get a more
accurate understanding of historical events and encourages the conversations and debate, at times
playing the voice of opposition to create a more thoughtful discussion.

        He has also volunteered for deployments in Afghanistan, Iraq, and Africa, among other
places, and seeks to be an honorable soldier and a good man. He is courageous and does not shy
away from danger. And there is another softer side to him as well…he absolutely loves animals.
Especially what he calls “the furry cuddly type”, such as dogs and cats. His dream is to purchase
a piece of land and have a farm, and he was actively looking for this future home prior to his
arrest, with every intention of settling there with a lot of animals.

        I understand Mr. Speed has been found guilty of a crime. Knowing what I know of him, I
believe that it is completely out of character for him to break the law. Not only did he hold the
higher standard of behavior required to be a church member, but he was also a member of the
U.S. Navy Reserves for the past 20 years and held a high-level security clearance. He has
consistently followed the rule of law and has always been dependable to do so. Prior to this
conviction, he held a clean record in every regard, volunteered his time at every opportunity, and
even in the face of danger, stood up for what he believed was right. I honestly believe he will
continue to help people and strive to be a better person.

I respectfully request that you consider the character of Mr. Speed and his contributions to the
community when determining how long he will be restricted from participating in society.

Thank you for your time and considering my request.

Sincerely,

/s/

Amber McCraw
Principal Engineer
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                                                                                    30 April 2023

Subject: Character Letter in support of Mr. Hatchet Speed

To: The Honorable Trevor N. McFadden

My name is Andrew Jensen. I am a private-sector consultant to government clients in the US
Defense Enterprise, most recently the US Marine Corps. I have known Mr. Hatchet Speed for
nearly ten years through our previous attendance at the same church congregation. In addition to
regular Sunday worship together, I have had the pleasure of frequently hosting him in my home
for social gatherings over the years. Our opportunities to interact have been curtailed since 2020
due to pandemic-related restrictions, our attendance at different Christian congregations, & his
subsequent legal challenges. I will not pretend to know Mr. Speed as well as I would like. Along
with many of his acquaintances & friends, I was caught off guard by the allegations brought
against him in regards to both the 6th January 2022 unrest at the US Capitol & his subsequent,
media-sensationalized statements regarding the Jewish people & faith. Nevertheless, I consider
him a friend, & I would be remiss if I did not highlight a number of his positive character
attributes that may assist in informing your sentencing decision.

Community Service
Since 2014, I have seen Mr. Speed regularly contribute his time, talents, & energy in service both
on behalf of fellow members of our church congregation & our broader Northern Virginia
community. I have heard him speak positively multiple times about his related service in our
nation’s Armed Forces. He has consistently been an individual to whom I knew I could reach out
were I to require assistance for myself or a related party, & I have never known him to be other
than generous & helpful to those around him.

Intellectual Openness
Mr. Speed is an individual who has constantly sought for self-improvement & a deeper
understanding of the spiritual & temporal world around him. I have enjoyed many thought-
provoking conversations with him. Even before his alleged “pro-National Socialist” views
garnered public attention, there were “milder” geopolitical & sociological issues on which we
differed. When disagreements came to light, however, I always found Mr. Speed to be willing to
listen & engage in a respectful & courteous manner -- sadly more than can be said for many US
citizens who loudly engage in contemporary political dialogue.

Patriotism
I am not unaware of the serious charges brought against Mr. Speed, nor do I condone the actions
& statements that have led him to this point in legal proceedings. Nevertheless, based on our
years of association & frequent conversations, I truly believe that my friend embraces an
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interpretation of American patriotism which, while not wholly in line with my own, reflects a
number of related positive attributes & beliefs: his deep respect for our nation’s Founding
Fathers, the Declaration of Independence, the U.S. Constitution, & the Bill of Rights; his desire
to uphold & defend a society conducive to traditional families & respectful of the weak among
us, including women & children; & his willingness to put himself at personal risk to defend the
nation he loves, whether via military service or standing against domestic political corruption (as
he sees it).
I am not suggesting that the political statements & actions of which Mr. Speed stands accused
&/or to which he has pled guilty are “patriotic” in any sense. I am suggesting that however much
I may disagree with the “negative” facets of his view of patriotism, I wish to highlight the many
“positive” facets of the same which may be unfortunately overlooked or downplayed during this
lengthy legal process.


Thank you for the consideration of the above. I am happy to elaborate on Mr. Speed’s character
via his legal representatives upon request, & will keep both his prospects for rehabilitation & the
wisdom of the court in my prayers.

Sincerely,


Andrew Jensen
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                    March 19, 2023


                    To    e Honorable Michael S. Nachmano ,

                    My name is Danelle Graham. I am currently a full time stay-at-home mother to four young
                    children. I met Hatchet Speed while attending a four year university in Utah during the
                    autumn of 2007. From the start of our acquaintance, Speed struck me as a very easy going,
                    good natured man. He was rooming with my now-husband and we all spent a great deal of
                    time together, making cookies and Afghan at bread while sharing laughs in their small
                    kitchen. I watched him enjoy eating cookie dough straight o of the beaters for the rst
                    time in his life. He loved it and meticulously ate every last bit, savoring it. He made me
                    laugh with his interest in barefoot running and his un appable nature. I also recall that he
                    had a range of instruments he played including an electric violin, a keyboard, and a guitar
                    (the last two on which he was self-taught). Over the years I came to learn that Speed is
                    always willing to accept most any invitation, happy for the opportunity and interested to see
                    what it might bring.

                    Speed is one of the most quietly generous people I have ever met and yet I do not think
                    he would describe himself as such simply because it is so deeply ingrained in his nature---he
                    is not thinking about being generous: he simply is.

                    My rst small glimpse of this quality was during a anksgiving dinner in 2009. Speed had
                    recently returned from another deployment in the Middle East and my husband and I
                    invited him, with our host's blessing, to join us at my grandmother's home for my family's
                    annual anksgiving dinner (typically 50-60 people). To my surprise, Speed readily
                    accepted. While thoroughly enjoying our food, Speed laughed ruefully to me about having
                    gained a little extra padding during his tour. Curious, since this did not square with my
                    impression of life on the frontlines, I asked him to explain. He described how, at that time,
                    many kind people from various stateside organizations often assembled care packages for
                    our deployed soldiers. In addition to other amenities, these were typically lled with beloved
                    snacks and candy bars from home. In fact, according to Speed, they were positively rolling
                    in them. Soldier's uniforms, he further explained, come equipped with many handy
                    pockets, pockets to which he put to good use by squirreling away snacks and candies in any
                    extra space. at way, during those times that he was away from his base for hours at a time
                    either out on his rounds, doing guard duty, or on a mission, he could treat himself to a little
                    snack.
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          Hilariously, he became known amongst his unit as being the guy that always had the goods.
          He and others would be out on patrol and one of his companions would suddenly turn to
          him and ask "Hey, Speed! Do you have anything to eat?" and Speed would reach into one of
          his many cargo pockets and produce a Ho Ho. Every time someone asked, Speed delivered.
          He always happily shared with whomever he was with, whenever they wanted.

          Speed is also an intrinsically compassionate person. It took me a little while to notice this
          particular trait. To be perfectly honest, the one who really took note of it was our pet bird.
          In 2011, we had moved out to Maryland for work and reconnected with Speed in 2012,
          who happened to live nearby again. at summer, we were going to be gone for a two week
          long vacation, but needed to arrange for someone to care for our small pet parrot, Bailey.
          Birds, parrots particularly, are intelligent, highly social creatures who can get extremely
          depressed if left alone for long periods of time and even begin plucking out their own
          feathers and other such self-destructive behaviors when stressed. Prior to Speed's move out
          to our neck of the woods, we had asked neighbors and new friends to look in on Bailey and
          make sure he had fresh food and water and provide him with a little company during the
          day (to try to help him feel less alone). But, as most people are generally unfamiliar and thus
          uncomfortable with birds, our friends being no exception, it felt like a major imposition to
          ask these kind people to care for attention-hungry Bailey for such a long time. Fortuitously,
          in recent weeks Speed had come over to our home several times for dinner and, amazingly,
          hit it o with the bird. He was so calm and con dent that I was certain he must have some
          experience handling birds as he easily let Bailey hop on his hand and scurry up his arm
          to perch on his shoulder. Nope. Speed just loves animals and animals love him. He seemed
          charmed by Bailey and let our dopey little parrot run around his shoulders and cuddle into
          the side of his neck for large chunks of his time visiting with us. Encouraged, we tentatively
          asked Speed if he would be able to house-sit for us while we were away and care for Bailey.
          He agreed in a heartbeat.

          By the time we returned, Bailey was utterly enamored with Speed.

          Marveling at our bird's extreme attachment, we came to nd out that, while caring for
          Bailey, Speed held him and let him ride around on his shoulders almost the entire time he
          was home from work. He cleaned Bailey's water bowls daily, fed him both his healthy pellets
          and his treats, scratched the bird's head (a favorite), and let Bailey cuddle into the crook of
          his neck and fall asleep. Bailey was so devoted to Speed that whenever he came to visit after
          that, Bailey would y to him immediately and stay glued to his side until it was time for
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                         him to leave. Alarmingly, Bailey even managed to escape our apartment on a couple of
                         di erent occasions to y after Speed as he left through the door. Speed always brought him
                         back, laughing, with Bailey riding triumphantly on his shoulders. After that, Speed became
                         our go-to bird-sitter, much to Bailey's delight (and I think Speed's, too, he was sure fond of
                         that little bird).

                         I remember one day joking that our beloved Bailey would probably prefer to stay with
                         Speed and he chuckled, admitting that he had run into that problem for years. Occasionally
                         rooming with people who owned pets, the animals always tended to gravitate to Speed.
                         Either it was a cooped up little dog that a compassionate Speed took with him on his walks
                         or it was a neglected cat that began showing up in his room for attention and snuggles (that
                         roommate was frustrated to always nd his missing cat had snuck o to Speed's room, to
                         whom it was now loyal). e only reason Speed didn't have a furry friend of his own was
                         that he spent so much time deployed abroad. He said he wanted to wait until he was
                         de nitely settled down and could devote his full attention to a pet, rather than leaving it for
                         months at a time.

                         Speed is also a true friend---he will drop everything he is doing to come to your aid, no
                         questions asked. For example, in 2013 I became pregnant with our rst child and ordered a
                         crib and dresser to be shipped to a store across town. e only problem was that the one car
                         my husband and I owned, a sedan, was not large enough to transport the two huge boxes
                         back to our home when they nally were ready for pick-up. My husband asked Speed if he
                         wouldn't mind helping him pick up the shipment with his SUV, a Toyota Forerunner. Good
                         natured as always, Speed a ably agreed. ey ended up making four half hour trips,
                         shuttling the cumbersome boxes with our heavy, hard wood crib and dresser, one at a time,
                         from the store, into Speed's car, across town, out of Speed's car, and hauling them all the
                         way up three ights of stairs to our little apartment. We couldn’t have done it without
                         Speed.

                         A few months later, a day before I was scheduled to have labor induced, our one car broke
                         down. Both Speed and my husband have a shared interest in car mechanics and had already
                         spent hours working together over the years, happily wrenching on cars. So, while I was in
                         the hospital recovering from a di cult birth, my husband was at Speed's house, our car
                         parked in his driveway as we couldn't use our apartment's parking lot. Together they
                         worked around the clock to repair our car. Despite having Speed's huge array of tools he had
                         collected over the years, there was one, quite expensive, tool that was needed to nish the
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               repair. Speed immediately got in his own car, went to the nearest hardware store, and
               purchased it. When my husband protested, Speed simply smiled, shrugged and claimed that
               he'd probably need it at some point for his own cars in the future. He declined my
               husband's o er to reimburse him, even for part of it. By the time I was discharged from the
               hospital, our car was up and running thanks, in no small part, to Speed's generosity and two
               days worth of near-constant work.

                  is became a pattern: if Speed was working on any of his vehicles, my husband was over
               lending a hand and, if it was our car needing repairs, Speed was there lending a hand (and
               more tools that he bought so we wouldn't have to, all the while claiming he'd likely need
               them for himself in time---I think he was aware that money was tight for us at then).

               Over the ve years we lived near Speed in Maryland, we had him in our home many times
               for dinners and even spent several more (at least three) anksgivings with him, once as our
               guest, and twice at my cousin's home (where Speed comfortably chatted with whomever he
               was seated beside: from my scientist cousin to the elderly little widows also invited). We
               were able to host him in our own home for a Christmas dinner, too, where my husband had
               repaired Speed's guitar and re-stringed it for him as a gift.

               In the summer of 2016, my husband and I prepared to move cross-country for work. It was
               a bittersweet time because, though we would be closer to our own immediate families, we
               were moving far away from good friends, Speed included. We had him over for dinner one
               last time---Bailey-bird was on cloud nine---and said our goodbyes. at was the last I
               personally heard from Speed, though my husband continued to communicate via text and
               email over the next several years. He slowly fell out of touch, last exchanging some emails in
               2018. Just a few weeks ago, while back in Maryland for work, my husband texted Speed's
               phone, hoping to arrange to get together for lunch. To his surprise, a person named Amber
               replied, said she was Speed's power of attorney and that she would tell Speed he had tried to
               get in touch.

               Totally confused, we researched what we could and came across several shocking articles on
               Speed's attendance at the Jan 6 protests and subsequent investigation by the FBI. ere was
               absolutely nothing in the characterizations of Speed that resembled the man we both know.
                 roughout my nine years' friendship with Speed, over the many long hours of
               conversation, both casual and personal, he never once expressed any hateful opinions. He
               has been a consistently laid-back, friendly character who was always open to trying
               something new.
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     When Amber told Speed of my husband's e orts to get in touch, he was purportedly
     delighted. He immediately asked after our family, remarked how it had grown, and jokingly
     hinted that our backyard is now big enough for a dog. He even asked about Bailey. It has
     been seven years since Speed saw our little parrot, but he immediately asked after him by
     name.

     It sounded just like the same old Speed I have always known. He is a good, gentle, and
     caring person. He has served his country honorably without fail over multiple deployments,
     has responsibly held a top-secret security clearance as he continued his work at home, and
     has been the truest of friends. I ask most humbly that you please be lenient in your
     sentencing. He has given so very much and has more yet to o er.

       ank you most sincerely,

     Danelle Graham
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        March 19, 2023


        To the Honorable Michael S. Nachmano ,


        My name is Sean Graham. I work full-time as a government employed analyst. The
        intent of this letter is to provide contextual substance for the character of Hatchet
        Speed. I thank your Honor for investing the time to evaluate Speed holistically prior
        to sentencing. I knew Speed best between the years of 2006-2016 with intermittent
        contact between 2016-2018. Given my 10-plus years' friendship with Speed, I could
        write volumes about our interactions. I will keep my comments and anecdotes
        focused on him and the things I deem worthy and relevant to his case.

        From the irst time we met in the fall of 2007, when he introduced himself with a
        simple, “Hi, my name is Speed," I knew this guy was one in a million. I think everyone
        who meets him knows instantly that he is a unique character, likely due to his keen
        concentration on every conversation. When you speak with him, Speed gives you
        100% of his attention, riveted to every word. It is his almost innocent curiosity that
        sets him apart. He is respectful to anyone he meets, speaking with them openly so
        that he can understand their point of view.

        He analyzes and debates every subject, even from the perspective of an opposing
        side simply to provide full context. Speed has a voracious appetite for history and
        particularly warfare and its e ects on people and society. One time, while trail
        running together in Maryland, Speed spoke with me at length about both the
        American Revolutionary and Civil Wars, discussing the two sides of each con lict. He
        took into consideration British, Colonial, Union, and Confederate tactics, mindsets,
        creeds, and anything that added substance to understanding prominent battles and
        movements. He presented hypothetical situations about what the British or the
        Confederacy could have done di erently, critiquing the overall successful strategies
        of the Continental and Union armies in an e ort to understand everything from
        micro to macro levels. Speed strived to see things from every possible angle. His
        interest in speci ic historical igures was always dominant.
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         He studied personalities ranging across history, from Washington, to Howe, to
         Hancock, to Germaine, to the controversial Benedict Arnold, to Grant, to Pickett, to
         Lee, to Meade and the list goes on.

         Speed’s curiosity expands well beyond book learning. If there is a skill, talent, or
         hobby that catches his fancy, he pursues it wholeheartedly. When my roommates
         and I moved him into our shared house back in 2008, we were shocked at the sheer
         amount and diversity of possessions we had to heft. Everything from myriad musical
         instruments, a giant box of running shoes (some worn to near nothing, others brand
         new), SCUBA equipment, climbing gear, and so forth. Everything was stored with
         care in a very organized fashion, but there was still a lot of it. I quickly came to ind
         out that Speed genuinely loves to learn new skills, not only that, but he becomes
         pro icient at whatever he sets his mind to. He capably used every single piece of
         equipment we brought in and even accumulated more during our time rooming
         together.

         I discovered that he enjoys his time and his freedom to choose what he wants to
         learn. He respects this freedom as near sacrosanct whereas most people often take
         it for granted. When I introduced him to sound e ects pedals for guitar playing, he
         spent weeks researching all of the di erent pedals. One day I came home to
         discover him with a massive collection of e ects pedals designed to produce all of
         his favorite sounds. When I asked him where all of the new gear came from he
         simply replied, “I saw what you were doing with your guitar playing and enjoyed it so
         much, I decided to just get out, buy a bunch, and try it myself!”

         This was not a one-o occurrence. Years later, while helping him move in the
         Maryland area, I asked him about a hideously long apparatus he had tied to the roof
         of his truck. He said, “Oh, that’s my hang glider. I learned how to do that before I
         moved from Utah.” He said it so matter-of-factly, that I just chalked it up as another
         skill that Speed had casually decided to master.

         In my experience, Speed's demeanor has always been calm, respectful, gently
         joking, and very stable. It never ceases to amaze me how he stays so absolutely
         grounded. He can make the greatest stresses of life seem like merely an
         entertaining little trial that we simply have to laugh about and move on. In college,
         while he lived in the room down the hall from me, my go-to strategy for dealing with
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stress was to chat with Speed. While my wife and I lived in Maryland, we always
knew Speed had our back at the drop of a hat. From frantic car repairs, to house
sitting, to taking care of our pet parrot, he was always there.

When we lived near each other, he was a person I always wanted to have around for
holidays. He was great company for many dinners, multiple Christmas holidays, and
Thanksgivings. Whether it was at my little family’s apartment or as a guest at my
wife’s relatives' houses, he treated these occasions with honor, dignity, and
gratitude.

Through all of my experiences, Speed generously gave of his time, resources, and
talents whenever he could. When my irst child was born, my only vehicle snapped
its running belt and developed a transmission fault. Speed lent me the use of his
driveway, purchased the necessary tools for me under the guise of, “I’ll probably
need this anyway,” and helped me get the vehicle in running order again so I could
get back to the hospital and bring my wife, mother in-law, and newborn baby home.

Speed's caring nature extends to his love of animals, no matter where he happens to
be. Roommates’ animals basically fell in love with the guy and, while on deployment
in Africa, he befriended the many stray cats around his barracks, thankful that they
kept the rats and other vermin out. My pet parrot has always been besotted with
Speed due to the care and attention Speed provided the little bird during the several
times he looked after our apartment.

I could go on, but this is su icient. It is an understatement to say I was completely
shocked and dismayed when I stumbled upon the knowledge of Speed's recent
legal battle. I happened to be in the DC area for work this past February and
attempted to contact Speed in hopes of a long overdue visit. When I discovered the
news of his arrest from his power of attorney, I felt like I had fallen into an alternate
reality because Speed is one of the most upright and honest men I know.

I would like to point out that I will not excuse any of Speed’s actions that infringed
upon any legal statute. He knows better than most that where there is a law broken,
there is a punishment a ixed. He comprehends justice and has a keen perception of
injustice as he related to me multiple times after witnessing innocent people su er
while on his deployments to Iraq and Afghanistan. These are deeply ingrained moral
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     values that he cultivated over many years of experience, both domestically and
     abroad. Speed, in my experience, has always valued people and his interactions
     with them.

     Speed is someone who is worth giving the opportunity to evaluate and change, if
     need be, so that he may return to the freedoms of life he holds sacred. I hope this
     brief look into his past can provide some measure of appropriate counterweight to
     the weights measured against him to promote the most accurate dispensary of
     justice, tempered with mercy.

     Sincerely

     Sean Graham
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